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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 SHENZHEN ZHEN PIN ZHENG
 DIGITAL ELECTRONIC
 TECHNOLOGY CO., LTD

                        Plaintiff,                        Civil Action No. 1:21-cv-01916

                v.                                         JURY TRIAL DEMANDED

 THE PARTNERSHIPS AND                                        Judge: John J. Tharp, Jr.
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,


                        Defendants.


   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S EX PARTE SECOND
      MOTION TO EXTEND THE TEMPORARY RESTRAINING ORDER

       Plaintiff Shenzhen Zhen Pin Zheng Digital Electronic Technology Co., Ltd. (“Plaintiff”)

respectfully requests that this Court enter an order extending the Temporary Restraining Order

(“TRO”) (Dkt. No. 20) entered in this matter for a period of an additional fourteen (14) days,

through and including June 2, 2021 for the remaining Defendants. This is Plaintiff’s second

request for an extension of the TRO. In support, Plaintiff would show as follows:

       Federal Rule of Civil Procedure 65(b)(2) states that an ex parte temporary restraining order

“expires at the time after entry—not to exceed 14 days—that the court sets, unless before that time

the court, for good cause, extends it for a like period” and that the “reasons for an extension must

be entered into the record.” FED. R. CIV. P. 65(b)(3). Plaintiff believes that sufficient good cause

exists to extend the Temporary Restraining Order for an additional fourteen (14) days. As is shown

in Plaintiff’s Ex Parte Motion for Entry of a Temporary Restraining Order and Memorandum of

Law in Support (Dkt. Nos. 12 and 13), in the absence of a restraining order, and more specifically
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the asset freeze, it is highly likely that Defendants will simply move their ill-gotten funds to

accounts and locations outside the reach of the powers of this Court and will continue to unlawfully

offer counterfeit versions of Plaintiff’s goods. Since the entry of the Temporary Restraining Order,

Plaintiff and Plaintiff’s counsel have worked diligently to comply with the terms of the order.

Decl. of Stevenson Moore, ¶¶ 3-4, attached hereto as Exhibit A. Plaintiff has been in contact with

the third parties who have provided the means by which Defendants accomplish their unlawful

activities, including Amazon.com, Aliexpress.com, Wish.com, Alibaba.com, and eBay.com, and

Paypal, Inc. Id. at ¶ 4.

        Plaintiff has received the email addresses for service for the Amazon.com, Wish.com, and

eBay.com Defendants and effected service upon those sets of Defendants. Id. at ¶ 5. Plaintiff has

served those sets of Defendants and provided copies of the complaint, summons, and temporary

restraining order to each of those sets of Defendants. Additionally, the platforms Amazon, Wish

and eBay have taken the required steps to comply with the Court’s temporary restraining order.

Id. at ¶ 6.

        However, Alibaba.com, has thrown up roadblocks to Plaintiff. Specifically, Plaintiff has

been in communications with Alibaba.com and have provided them with all requested information

sought by Alibaba.com, including in specific formats requested by them. Id. at ¶ 7. Furthermore,

unlike the other platforms, Alibaba.com specifically required Plaintiff to wire the platform “a

processing and administrative fee” for each Defendant store before complying with the Court’s

temporary restraining order. Id. at ¶ 7. However, even after paying this “processing and

administrative fee” to Alibaba.com, Plaintiff has yet to receive the required discovery and email

address for service to those sets of Defendants and Alibaba.com has not complied. Id. at ¶ 7
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       Once Plaintiff receives the required information from the Aliexpress.com and

Alibaba.com, Plaintiff can begin the process of identifying and freezing those accounts within the

control of third-party payment processors, including providing the Defendants’ identifying

information. Id. at ¶ 8. As such, Plaintiff and the third parties require more time to ensure

compliance with this Court’s Temporary Restraining Order. Id. at ¶ 7

       As Plaintiff has yet to receive service address for ALL Defendants, Plaintiff respectfully

requests that this Court extend the Temporary Restraining Order for an additional fourteen (14)

days, through and including June 2, 2021. This extension would not apply to the two defendants

whom Plaintiff have already moved to dismiss.
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Dated this 16th day of May, 2021.                   Respectfully submitted,

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                                                    Zheng Digital Electronic Technology Co.,
                                                    Ltd


                                CERTIFICATE OF SERVICE
       I hereby certify that on the 16th day of May, 2021, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of Illinois,
Eastern Division, using the electronic case filing system of the court. The electronic case filing
system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
writing to accept this Notice as service of this document by electronic means.

                                             /s/ Hao Ni
                                             Hao Ni
